      Case 5:15-cv-00259 Document 31 Filed on 03/14/17 in TXSD Page 1 of 2




                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     LAREDO DIVISION

RANDALL CONRAD KENNEDY                              §
                                                    §
V.                                                  §    CIVIL ACTION NO. 5:15-CV-259
                                                    §
EARL MARQUAVIN EDWARDS,                             §
CR ENGLAND, INC., AND CR                            §
ENGLAND, INC., CORPORATION                          §            JURY DEMANDED

                                     STIPULATION OF DISMISSAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Plaintiff and Defendants file this stipulation of dismissal under FED. R. CIV. P.

41(a)(1)(A)(ii).

       1.        Plaintiff is Randall Conrad Kennedy. Defendants are Earl Marquavin Edwards, CR

England, Inc., and CR England, Inc., Corporation. On September 23, 2015, plaintiff sued

defendants.

       2.        Plaintiff moves to dismiss his suit. Defendants, who have filed an answer, agree to

the dismissal.

       3.        This case is not a class action under FED. R. CIV. P. 23, a derivative action under Rule

23.1, or an action related to an unincorporated association under Rule 23.2.

       4.        A receiver has not been appointed in this case.

       5.        This case is not governed by any federal statute that requires a court order for

dismissal of the case.

       6.        Plaintiff has not previously dismissed any federal- or state-court suit based on or

including the same claims as those presented in this case.

       This dismissal is with prejudice.
      Case 5:15-cv-00259 Document 31 Filed on 03/14/17 in TXSD Page 2 of 2




                                           Respectfully submitted,


                                     By:        /s/Priscilla Y. Chapa
                                           Priscilla Y. Chapa, Attorney-in-Charge
                                           State Bar No. 24027806; Fed. ID 1128608
                                           611 S. Upper Broadway
                                           Corpus Christi, Texas 78401
                                           361-883-1594
                                           361-883-1599 Telecopy
                                           priscilla@texasdefenselaw.cc

                                           ATTORNEY-IN-CHARGE        FOR
                                           DEFENDANTS, C.R. ENGLAND, INC.,
                                           AND “CR ENGLAND, INC.,
                                           CORPORATION,” and EARL
                                           MARQUAVIN EDWARDS

OF COUNSEL:
DUNN, WEATHERED, COFFEY & KASPERITIS, P.C.
611 S. Upper Broadway
Corpus Christi, Texas 78401
361-883-1594
361-883-1599 Telecopy

AND

                                     By:    /s/ Augusto Guerra
                                           Augusto Guerra, Attorney-in-Charge
                                           State Bar No. 24027358; Fed ID
                                           5826 IH-10 West
                                           San Antonio, Texas 78201
                                           210-233-6904
                                           Email: aguerra@vblawgroup.com

                                           ATTORNEY-IN-CHARGE FOR PLAINTIFF

OF COUNSEL:
VILLARREAL & BEGUM, PLLC
5826 IH-10 West
San Antonio, Texas 78201
210-233-6904



                                       2
